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                                 CERTIFICATE OF SERVICE


       I, Elihu E. Allinson III, hereby certify that on December 21, 2015, I caused one

copy of the foregoing to be served upon the parties on the attached service list via First Class

U.S. Mail.



December 21, 2015                                             /s/ E.E. Allinson III
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